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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-1198V
                                        UNPUBLISHED


    JONATHAN RUIZ,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: May 11, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Guillain-Barre Syndrome (GBS)
                       Respondent.


Diana Lynn Stadelnikas, Maglio Christopher & Toale, PA, Sarasota, FL, for petitioner.

Catherine Elizabeth Stolar, U.S. Department of Justice, Washington, DC, for
respondent.

                                   RULING ON ENTITLEMENT1

       On September 14, 2020, Jonathan Ruiz filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain Barre Syndrome (“GBS”) as a
result of an influenza vaccine received on March 25, 2019. Petition at 1-4. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

          On May 10, 2021, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent agrees “that petitioner’s claim meets the Table criteria for GBS
. . . . [and] [t]herefore, petitioner is entitled to a presumption of vaccine causation.” Id. at

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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8-9. Respondent further agrees that “[t]he records also show that this case was timely
filed, that petitioner received his vaccination in the United States, and that petitioner
satisfies the statutory severity requirement by suffering the residual effects or
complications of his injury for more than six months.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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